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Case: 4:19-cv-00075-JAR Doc. #: 109-12 Filed: 12/17/21 Page: 2 of 22 PageID #: 1287
Case: 4:19-cv-00075-JAR Doc. #: 109-12 Filed: 12/17/21 Page: 3 of 22 PageID #: 1288
Case: 4:19-cv-00075-JAR Doc. #: 109-12 Filed: 12/17/21 Page: 4 of 22 PageID #: 1289
Case: 4:19-cv-00075-JAR Doc. #: 109-12 Filed: 12/17/21 Page: 5 of 22 PageID #: 1290
Case: 4:19-cv-00075-JAR Doc. #: 109-12 Filed: 12/17/21 Page: 6 of 22 PageID #: 1291
Case: 4:19-cv-00075-JAR Doc. #: 109-12 Filed: 12/17/21 Page: 7 of 22 PageID #: 1292
Case: 4:19-cv-00075-JAR Doc. #: 109-12 Filed: 12/17/21 Page: 8 of 22 PageID #: 1293
Case: 4:19-cv-00075-JAR Doc. #: 109-12 Filed: 12/17/21 Page: 9 of 22 PageID #: 1294
Case: 4:19-cv-00075-JAR Doc. #: 109-12 Filed: 12/17/21 Page: 10 of 22 PageID #:
                                    1295
Case: 4:19-cv-00075-JAR Doc. #: 109-12 Filed: 12/17/21 Page: 11 of 22 PageID #:
                                    1296
Case: 4:19-cv-00075-JAR Doc. #: 109-12 Filed: 12/17/21 Page: 12 of 22 PageID #:
                                    1297
Case: 4:19-cv-00075-JAR Doc. #: 109-12 Filed: 12/17/21 Page: 13 of 22 PageID #:
                                    1298
Case: 4:19-cv-00075-JAR Doc. #: 109-12 Filed: 12/17/21 Page: 14 of 22 PageID #:
                                    1299
Case: 4:19-cv-00075-JAR Doc. #: 109-12 Filed: 12/17/21 Page: 15 of 22 PageID #:
                                    1300
Case: 4:19-cv-00075-JAR Doc. #: 109-12 Filed: 12/17/21 Page: 16 of 22 PageID #:
                                    1301
Case: 4:19-cv-00075-JAR Doc. #: 109-12 Filed: 12/17/21 Page: 17 of 22 PageID #:
                                    1302
Case: 4:19-cv-00075-JAR Doc. #: 109-12 Filed: 12/17/21 Page: 18 of 22 PageID #:
                                    1303
Case: 4:19-cv-00075-JAR Doc. #: 109-12 Filed: 12/17/21 Page: 19 of 22 PageID #:
                                    1304
Case: 4:19-cv-00075-JAR Doc. #: 109-12 Filed: 12/17/21 Page: 20 of 22 PageID #:
                                    1305
Case: 4:19-cv-00075-JAR Doc. #: 109-12 Filed: 12/17/21 Page: 21 of 22 PageID #:
                                    1306
Case: 4:19-cv-00075-JAR Doc. #: 109-12 Filed: 12/17/21 Page: 22 of 22 PageID #:
                                    1307
